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                                SOUTHWEST AIRLINES CO.
                           10
                           11
                                                      UNITED STATES DISTRICT COURT
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                           12
   A TTORNEYS AT L A W




                                                   SOUTHERN DISTRICT OF CALIFORNIA
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                           13
                                MATT GROVE, individually and on                  Case No.: 3:23-cv-00306-AJB-BLM
                           14   behalf of all others similarly situated,
                                                                                 NOTICE OF MOTION AND
                           15                    Plaintiff,                      MOTION TO DISMISS,
                                                                                 TRANSFER, OR STAY UNDER
                           16          v.                                        FIRST-TO-FILE RULE
                           17   SOUTHWEST AIRLINES CO., a                        [Filed Concurrently with
                                Delaware Corporation; and DOES 1                 Declaration of Matthew D. Pearson;
                           18   through 100, inclusive,                          (Proposed) Order]
                           19                    Defendant.                      Hearing Date: August 21, 2023
                                                                                 Hearing Time: 2:00 p.m.
                           20                                                    Location: 211 West Broadway
                                                                                            San Diego, CA 92101
                           21                                                               Courtroom 4A
                                                                                 Floor: 4th Floor
                           22
                           23                                                    Action Filed:             February 15, 2023
                           24
                           25
                           26
                           27
                           28


                                                   NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
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                            1         TO THE COURT, AND TO ALL PARTIES AND THEIR COUNSEL
                            2   OF RECORD:
                            3         PLEASE TAKE NOTICE THAT at 2:00 p.m. on August 21, 2023, or as
                            4   soon thereafter as the matter may be heard, in Courtroom 4A in the Edward J.
                            5   Schwartz Courthouse for the United States District Court for the Southern District of
                            6   California, located at 221 West Broadway, San Diego, California 92110, the
                            7   Honorable Anthony J. Battaglia presiding, Defendant Southwest Airlines Co.
                            8   (“Southwest”) will and hereby does move for an order dismissing the above-
                            9   captioned action (“Grove Action”) pursuant to the first-to file rule; or, in the
                           10   alternative, transferring the Grove Action to the United States District Court for the
                           11   Eastern District of Louisiana, where an earlier-filed, substantially similar putative
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                           12   class action is pending, Capdeville v. Southwest Airlines Co., Case No. 22:18-cv-
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                           13   02876-MWF-E (E.D. La.) (the “Capdeville Action”); or, lastly, staying the Grove
                           14   Action pending resolution of the Capdeville Action (“Motion”).
                           15         The Grove Action should be dismissed under the first-to-file rule because the
                           16   Capdeville Action involves the same challenged conduct and seeks certification of a
                           17   purported class that is either entirely inclusive of or substantially similar to the
                           18   purported class in this case. Therefore, in the interests of judicial economy, this case
                           19   should be dismissed. If it is not dismissed, this case should be transferred to the
                           20   Eastern District of Louisiana. Failing both, this Court should stay this matter while
                           21   the first-filed action (i.e., the Capdeville Action) is pending.
                           22         This Motion is based on this Notice of Motion and Motion; the Memorandum
                           23   of Points and Authorities; the Declaration of Matthew D. Pearson; all other papers,
                           24   documents, or exhibits that may be filed in support of this Motion; and the argument
                           25   of counsel, if any, made at the hearing.
                           26         On June 12, 2023, counsel for Southwest sent counsel for Plaintiff Matt Grove
                           27   (“Plaintiff”) an email, stating that “[a]s previously discussed, Southwest plans to file
                           28   shortly a motion to dismiss, transfer, or stay the Grove Action pursuant to the first-
                                                                              -1-
                                                   NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
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                            1   to-file rule.” [Declaration of Matthew D. Pearson (“Pearson Decl.”), ¶ 9.] In that
                            2   email, counsel for Southwest further stated that “Southwest will be seeking:
                            3                 •     An order dismissing the case pursuant to the first-to-file rule;
                            4                 •     In the alternative, an order transferring the case to the Eastern
                            5                       District of Louisiana (where the first-filed Capdeville action is
                            6                       pending); or
                            7                 •     In the alternative, an order staying the case pending resolution of
                            8                       the Capdeville action.”
                            9   [Id.]
                           10           Counsel for Southwest concluded the June 12, 2023 email, stating: “If you
                           11   would like to discuss over the phone, please just let me know.” [Id. at ¶ 10.]
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                           12           Not having received a response from counsel for Plaintiff, counsel for
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                           13   Southwest sent, on June 13, 2023, a follow-up email and attached his original June
                           14   12, 2023 email. [Id. at ¶ 11.] As of the filing of this Declaration, counsel for
                           15   Southwest has not received a response from counsel for Plaintiff regarding
                           16   Southwest’s Motion or counsel for Southwest’s offer to engage in a telephonic meet-
                           17   and-confer call prior to filing the Motion. [Id. at ¶ 12.]
                           18
                           19    Dated: June 16, 2023                               BAKER & HOSTETLER LLP
                           20
                                                                                    By: /s/ Matthew D. Pearson
                           21                                                          Matthew D. Pearson
                                                                                       Casie D. Collignon
                           22                                                          Alexander Vitruk
                           23                                                       Attorneys for Defendant
                                                                                    Southwest Airlines Co.
                           24
                           25
                           26
                           27
                           28

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                                                   NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
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                            1               MEMORANDUM OF POINTS AND AUTHORITIES
                            2   I.    INTRODUCTION
                            3         In late December 2022, Southwest Airlines suffered a major disruption to its
                            4   operations, which resulted in flight cancellations. Matt Grove filed a class action
                            5   complaint, alleging that he was among the group of individuals whose flights were
                            6   cancelled, and that Southwest failed to properly compensate him and other class
                            7   members. These allegations, however, are nearly identical to those in an earlier-filed
                            8   putative class action pending in the United States District Court for the Eastern
                            9   District of Louisiana, Capdeville v. Southwest Airlines Co., Case No. 22:18-cv-
                           10   02876-MWF-E (E.D. La.).
                           11         Given that (1) the two actions are substantially the same and (2) Capdeville
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                           12   was filed first and has progressed further, the Grove action should be dismissed under
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                           13   the first-to-file rule. Indeed, another plaintiff in another related action—Mary
                           14   Smith—has already effectively admitted that the rule applies by filing her own
                           15   motion to transfer with the Judicial Panel on Multidistrict Litigation, [see Mot. for
                           16   Transfer at 7, 9, MDL No. 3082 (arguing that the Capdeville action and this one
                           17   “Share Common Questions of Law and Fact” and that “Transfer Will Promote
                           18   Convenient, Just, and Efficient Litigation of the Related Actions”)], and Grove has
                           19   indicated that he does not oppose that motion.
                           20         Alternatively, this Court should transfer the Grove action to the Eastern
                           21   District of Louisiana, where Southwest’s motion to dismiss is currently pending. 1
                           22   II.   STATEMENT OF FACTS
                           23         A.     The First-Filed Action in Federal Court: Capdeville 2
                           24         On December 30, 2022, Eric Capdeville filed suit against Southwest in the
                           25   United States District Court for the Eastern District of Louisiana, Case No. 2:22-cv-
                           26
                                1
                                  Absent dismissal or transfer, the Court should, at a minimum, stay this action to
                           27   avoid any inconsistent orders and duplication of resources.
                           28
                                2
                                  A true and correct copy of the docket in the Capdeville action is attached as
                                Exhibit 1 to the Pearson Decl.
                                                                              -1-
                                                   NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
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                            1   05590-DJP-KWR.Capdeville asserts two causes of action against Southwest: (1)
                            2   breach of contract and (2) redhibition. [Compl., 2:22-cv-00590-DJP-KWR, Dkt. No.
                            3   1, attached as Exhibit 2 to the Pearson Decl.] These two claims, according to
                            4   Capdeville, arise out of Southwest’s “cancell[ation] [of] flights nationwide”
                            5   “beginning Friday, December 23, 2022” and “continu[ing]…through Wednesday,
                            6   December 28, 2022.” [Id. at ¶ 5.] Capdeville asserts his two claims against
                            7   Southwest on behalf of himself and, purportedly, on behalf a nationwide class, which
                            8   he defines as:
                            9
                                             “All persons in the United States who purchased tickets
                           10                for travel on a Southwest Airlines flight scheduled to
                           11                operate from December 24, 2022 through the date of the
                                             class certification order, whose flight(s) were canceled by
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                           12                Southwest, and who were not provided a refund or
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                           13                reimbursed for incurred expenses as a result of the
                                             cancellation.” [Id. at ¶ 24.]
                           14
                           15         On May 22, 2023, Southwest filed a motion to dismiss Capdeville’s complaint,
                           16   arguing, among other things, that (1) Capdeville fails to state a plausible claim for
                           17   breach of contract and redhibition; and (2) Capdeville’s redhibition claim is
                           18   preempted by the Airline Deregulation Act. [2:22-cv-00590-DJP-KWR, Dkt. No.
                           19   10.] The motion to dismiss was initially “set for submission before District Judge
                           20   Ivan L.R. Lemelle on June 7, 2023.’” [Id. at Dkt. No. 10-4.] The case was then
                           21   reassigned to Judge Papillion, [id. at Dkt. No. 13], and a new submission date of July
                           22   12, 2023 was set, [id. at Dkt. No. 15].
                           23         B.     This Action: Grove
                           24         On February 15, 2023, Plaintiff Matt Grove (“Grove”) filed in the United
                           25   States District Court for the Southern District of California the Grove Action against
                           26   Southwest, asserting claims for (1) breach of contract, (2) breach of the covenant of
                           27   good faith and fair dealing; (3) violation of bailment; (4) injunctive relief; and (5)
                           28   declaratory relief (28 U.S.C. §§2201-2202). [See Dkt. No. 1.] These five claims all
                                                                              -2-
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                            1   arise out of Southwest’s “cancell[ing] nearly 16,000 flights” “[b]etween December
                            2   22, 2022 and January 2, 2023.” [Id. at ¶ 60.]
                            3          Grove asserts these claims on behalf of himself and, purportedly, on behalf of
                            4   a “nationwide class” that Grove defines as follows:
                            5                 “All persons in the United States who purchased tickets
                            6                 for travel on a Southwest Airlines flight scheduled to
                                              operate notably from June 2020 through the date of
                            7
                                              certification but including the time period allowed by the
                            8                 statute of limitations, and that flight was delayed or
                                              cancelled, and who were not provided a refund and
                            9
                                              reimbursed for incurred expenses as a result of the
                           10                 cancellation.” [Id. at ¶ 77.]
                           11          Southwest’s current responsive pleading deadline in the Grove Action is June
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                           12   16, 2023. [Dkt. No. 8.]
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                           13          C.     The MDL Motion
                           14          Then, on May 30, 2023 and without any notice to Southwest, plaintiff in a
                           15   related action—Smith v. Southwest Airlines Co., Case No. 3:23-cv-00754-AJB-
                           16   BLM (S.D. Cal.)—filed with the United States Judicial Panel on Multidistrict
                           17   Litigation a Motion for Transfer of Actions to the Southern District of California
                           18   Pursuant to 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial Proceedings”,
                           19   seeking an order to “transfer the related actions” 3 “and any subsequently filed tag-
                           20   along actions or related actions, to the Southern District of California for coordinated
                           21   or consolidated proceedings.” [In re: Southwest Airlines Co. Flight Disruption
                           22   Litigation, MDL No. 3082, Dkt. No. 1, attached as Exhibit 3 to the Pearson Decl.
                           23   (“MDL Motion”).] In the MDL Motion, Smith admits that “The Related Actions
                           24   Share Common Questions of Law and Fact” and that “Transfer Will Promote
                           25
                           26   3
                                 In the MDL Motion, Smith describes the “related actions” as her action, this action, the
                           27   Capdeville action, and one other putative class actions filed against Southwest that arises
                                out of Southwest’s flight cancellations and that is pending in this Court—Grove v.
                           28   Southwest Airlines Co., Case No. 3:23-cv-00306-AJB-BLM (S.D. Cal.). Southwest has
                                also filed first-to-file motions in the Smith and Grove actions.
                                                                               -3-
                                                    NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
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                            1   Convenient, Just, and Efficient Litigation of the Related Actions.” [MDL Motion at
                            2   pp. 7, 9.] Counsel for Hill has indicated that Hill agrees with and will not be opposing
                            3   the MDL Motion. Southwest’s deadline to respond to the MDL Motion is June 20,
                            4   2023.
                            5   III.    FIRST-TO-FILE RULE STANDARD
                            6           “The first-to-file rule is a ‘generally recognized doctrine of federal comity
                            7   which permits a district court to decline jurisdiction over an action when a complaint
                            8   involving the same parties and issues has already been filed in another district.’”
                            9   Molander v. Google LLC, 473 F. Supp. 3d 1013, 1017 (N.D. Cal. 2020) (quoting
                           10   Pacesetter Sys., Inc. v. Medtronic, Inc., 678 F.2d 93, 94–95 (9th Cir. 1982)). In
                           11   deciding whether the first-to-file rule applies, courts consider three factors: “(1) the
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                           12   chronology of the actions; (2) the similarity of the parties; and (3) the similarity of
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                           13   the issues.” Id. The first-to-file rule does not require “exact identity of the parties.”
                           14   Kohn L. Grp., Inc. v. Auto Parts Mfg. Mississippi, Inc., 787 F.3d 1237, 1240 (9th Cir.
                           15   2015). Nor does it require that the issues be “identical.” All that is required is that
                           16   the parties and issues are “substantially similar.” Id. (“The issues in both cases also
                           17   need not be identical, only substantially similar.”).
                           18           Once it has been determined that the first-to-file rule applies, the court has the
                           19   discretion to dismiss, transfer, stay, or dismiss the action. Dewan v. M-I, L.L.C., No.
                           20   1:14-CV-01151-AWI, 2015 WL 3797462, at *4 (E.D. Cal. June 18, 2015); see also
                           21   Alltrade, Inc. v. Uniweld Prod., Inc., 946 F.2d 622, 623 (9th Cir. 1991) (stating that
                           22   “the well-established ‘first to file rule[]’…allows a district court to transfer, stay, or
                           23   dismiss an action when a similar complaint has already been filed in another federal
                           24   court”). Despite this discretion, a “court’s decision to depart from this general rule
                           25   must present a sound reason that would make it unjust or inefficient to continue the
                           26   first-filed action.” Barnes & Noble, Inc. v. LSI Corp., 823 F. Supp. 2d 980, 987 (N.D.
                           27   Cal. 2011) (internal quotations omitted). In fact, “[u]nless compelling circumstances
                           28   justify departure from the rule, the first-filing party,” here, the plaintiffs in the
                                                                               -4-
                                                    NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
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                            1   Consolidated Action, “should be permitted to proceed without concern about a
                            2   conflicting order being issued in the later-filed action.” Guthy-Renker Fitness, L.L.C.
                            3   v. Icon Health & Fitness, Inc., 179 F.R.D. 264, 269 (C.D. Cal. 1998).
                            4   IV.    ARGUMENT
                            5          A.     The First-to-File Rule Applies.
                            6          As noted above, (1) where another action was filed first; (2) where the parties
                            7   are similar in both actions; and (3) and where the issues are similar in both actions,
                            8   the first-to-file rule applies. Alltrade, Inc., 946 F.2d at 625-26. Here, all three factors
                            9   are met.
                           10                 1.      Capdeville Was Filed First.
                           11          Under the first-to-file rule, “the date on which the original . . . complaint was
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                           12   filed” governs. Guthy-Renker Fitness, 179 F.R.D. at 270. The Capdeville complaint
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                           13   was filed on December 30, 2022, 54 days prior to the filing of the Grove complaint.
                           14   [Compare Capdeville Complaint with Dkt. 1.] Therefore, the first factor under the
                           15   first-to-file rule is met.
                           16                 2.      The Parties Are Substantially Similar.
                           17          “[T]he first-to-file rule does not require exact identity of the parties,” only that
                           18   they be “substantially similar.” Kohn Law Grp., Inc., 787 F.3d at 1240 (collecting
                           19   cases). Here, Capdeville and the Grove assert claims against a common defendant—
                           20   Southwest—and seek to represent substantially overlapping nationwide classes
                           21   concerning the same set of events and alleged injuries.
                           22          Capdeville seeks to represent “[a]ll persons in the United States who purchased
                           23   tickets for travel on a Southwest Airlines flight scheduled to operate from December
                           24   24, 2022 through the date of the class certification order, whose flight(s) were
                           25   canceled by Southwest, and who were not provided a refund or reimbursed for
                           26   incurred expenses as a result of the cancellation.” [Capdeville Complaint, ¶ 24.]
                           27   Grove seeks to represent a nearly identical class. [Dkt. No. 1, ¶ 77 (defining class as
                           28   “All persons in the United States who purchased tickets for travel on a Southwest
                                                                                -5-
                                                     NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
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                            1   Airlines flight scheduled to operate notably from June 2020 through the date of
                            2   certification but including the time period allowed by the statute of limitations, and
                            3   that flight was delayed or cancelled, and who were not provided a refund and
                            4   reimbursed for incurred expenses as a result of the cancellation.”).]
                            5         Because both Capdeville and Grove are putative class actions, the fact that the
                            6   named plaintiffs differ is irrelevant. Most California courts apply “the more widely
                            7   accepted rule of comparing the putative classes even prior to certification.”
                            8   Wallerstein v. Dole Fresh Vegetables, Inc., 967 F. Supp. 2d 1289, 1295 (N.D. Cal.
                            9   2013). In other words, “[i]n a class action, the similarity of the classes, and not the
                           10   class representatives, is assessed.” White v. Home Depot U.S.A., Inc., No. 22-CV-
                           11   00276-AJB-AGS, 2022 WL 2489346, at *6 (S.D. Cal. July 6, 2022).
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                           12         Additionally, the two proposed classes need not be identical for the first-to-file
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                           13   rule to apply. As this Court observed, “[t]he rule is satisfied if some of the parties in
                           14   one matter are also in the other matter, regardless of whether there are additional
                           15   unmatched parties in one or both matters.” Id.; see also Booker v. Am. Honda Motor
                           16   Co., No. 2:20-CV-05166-SVW, 2020 WL 7263538, at *2 (C.D. Cal. Oct. 20, 2020)

                           17   (“Exact identity of the proposed classes is not required … and the rule is satisfied as

                           18   long as both classes seek to represent at least some of the same individuals.”).

                           19         Here, Capdeville and Grove seek to represent some, if not most, of the same

                           20   individuals. Indeed, although the Grove and Capdeville class definitions include

                           21   nominally different date ranges, the allegations present in each complaint primarily

                           22   concern the same December 24 to January 2, 2022 time period (and thus the same set

                           23   of allegedly affected customers). [Compare Capdeville Complaint, ¶ 24 with Dkt.

                           24   No. 1, ¶ 77.]. In fact, Grove himself falls within Capdeville’s proposed class

                           25   definition and his individual allegations concern the same set of events. [See Dkt. No.

                           26   1, ¶¶ 9 - 12 (alleging that his Southwest flight was cancelled and that he incurred

                           27   unreimbursed expenses as a result of same)]; see also Montijo v. Amazon.com Servs.

                           28   LLC, No. 122CV00084ADASAB, 2022 WL 16702134, at *7 (E.D. Cal. Nov. 3,

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                             1   2022), report and recommendation adopted, No. 122CV00084ADASAB, 2022 WL
                             2   17722873 (E.D. Cal. Dec. 15, 2022) (applying first-to-file rule where “Plaintiff is an
                             3   individual that would qualify as a member of a proposed class in the earlier-filed
                             4   putative class action.”).]
                             5         In short, the parties in the Capdeville and Grove Actions are “substantially
                             6   similar,” and the second factor of the first-to-file rule is met.
                             7                3.     The Issues Are Substantially Similar.
                             8         Like the similarity of the parties, “[t]he issues in both cases…need not be
                             9   identical, only substantially similar.” Kohn Law Grp., 787 F.3d at 1240-1241. So
                            10   long as there is “substantial overlap between the two suits,” the rule applies. Id. Both
                            11   actions undeniably arise out of the same nucleus of operative facts: the flight
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                            12   disruptions that impacted Southwest in the Winter of 2022. [Capdeville Complaint,
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                            13   ¶ 5; Dkt. No. 1, ¶ 60.] Additionally, Capdeville and Grove bring similar state-law
                            14   claims against Southwest. They assert the exact same breach-of-contact claim.
                            15   [Compare Capdeville Complaint, Count I – Breach of Contract with Dkt. No. 1,
                            16   Count I - Breach of Contract).] And although cast as different causes of action,
                            17   Capdeville’s redhibition cause of action and Grove’s breach-of-contract and other
                            18   claims claim seek the exact same relief. [Compare Capdeville Complaint, ¶ 25
                            19   (seeking under redhibition claim “return of the price of the ticket when it was paid
                            20   plus interest from the time paid, the reimbursement of reasonable expenses
                            21   occasioned by the sale and also for damages and attorney fees”) with Dkt. No. 1, ¶¶
                            22   95, REQUEST FOR RELIEF (seeking under her breach-of-contract claim “refunds”
                            23   for cancelled flights and also seeking             “attorneys’ fees and costs”).]             Indeed,
                            24   regardless of the causes of action asserted, in both actions, plaintiffs seek the same
                            25   relief (compensatory damages, including the cost of the tickets purchased; equitable
                            26   relief (i.e., specific performance and/or injunctive relief); and reasonable attorneys’
                            27   fees and costs) on behalf of the same individuals. [Compare Capdeville Complaint,
                            28   Prayer for Relief with Dkt. No. 1, REQUEST FOR RELIEF.]
                                                                                -7-
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                             1         Finally, if the Court were to decline to apply the first-to-file rule here,
                             2   “[j]udicial efficiency”—the ultimate goal of the first-to-file rule—“would not be
                             3   served.” Pacesetter Sys., Inc., 678 F.2d at 96 (affirming dismissal because “the goal
                             4   of judicial efficiency would not have been served by accepting jurisdiction” over the
                             5   second-filed action). As this Court stated, “‘[e]fficiency is lost, and judicial resources
                             6   are wasted’ where,” as here, “multiple actions, comprised of substantially similar
                             7   claims and parties, continue simultaneously.” White, 2022 WL 2489346, at *7
                             8   (quoting Treasure Garden, Inc. v. Red Star Traders, LLC, No. CV 12-0857, 2013
                             9   WL 12121989, at *5 (C.D. Cal. Apr. 1, 2013)).4
                            10         B.     The Court Should Dismiss This Action without Prejudice.
                            11         “The district court has the discretion to transfer, stay, or dismiss an action once
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                            12   it finds that the first-to-file rule applies.” HiTherm, LLC v. Victaulic Co., No. 8:22-
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                            13   00924-ADS, 2022 WL 19239750, at *4 (C.D. Cal. July 7, 2022) (emphasis added).
                            14   “When evaluating which option [under the first-to-file rule] is appropriate, ‘courts
                            15   should be driven to maximize ‘economy, consistency, and comity.’” Gatlin v. United
                            16   Parcel Serv., Inc., No. 2:18-CV-03135-SVW-AS, 2018 WL 10161198, at *6 (C.D.
                            17   Cal. Aug. 23, 2018) (quoting Kohn Law Grp., 787 F.3d at 1240).] The Ninth Circuit
                            18   has looked to the following factors in favoring dismissal over a transfer or stay: “(1)
                            19   neither the first nor second-filed action ha[s] proceeded past the pleading stage; (2)
                            20   no apparent bar exist[s] to a second-filing party’s presentation of its claims and
                            21   defenses in the first-filed action; and (3) the first-filed forum [i]s capable of
                            22   efficiently resolving all issues.” HiTherm, LLC, 2022 WL 19239750, at *4 (quoting
                            23   Ruckus Wireless, Inc. v. Harris Corp., No. 11-CV-01944-LHK, 2012 WL 588792, at
                            24
                            25
                                 4
                                  Although there are a few, narrow exceptions to the first-to-file rule, including
                                 “when the filing of the first suit evidences bad faith, anticipatory suit, or forum
                            26   shopping,” Inherent.com v. Martindale-Hubbell, 420 F. Supp. 2d 1093, 1097 (N.D.
                                 Cal. 2006), or when the “second-filed matter has proceeded far beyond a first-filed
                            27   matter, such that it becomes impractical to dismiss or stay the [second]-filed
                                 matter,” Intersearch, 544 F. Supp. 2d at 963, none of those exceptions apply here.
                            28   Southwest did not file the Capdeville action, and the Capdeville action has
                                 proceeded further than this action.
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                                                    NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
                                                                                                         CASE NO.: 3:23-CV-00306-AJB-BLM
                          Case 3:23-cv-00306-AJB-SBC Document 12 Filed 06/16/23 PageID.134 Page 12 of 13



                             1   *6 (N.D. Cal. Feb. 22, 2012)).
                             2         Here, all three factors favoring dismissal are met. First, neither Capdeville nor
                             3   this action has “proceeded past the pleading phase.” A motion to dismiss is pending
                             4   in the Capdeville action, and Southwest has not yet filed a responsive pleading in this
                             5   action. Second, there is no “apparent bar” to Grove presenting his claims in the
                             6   Capdeville action. Indeed, as a class member in the Capdeville action, Grove’s
                             7   claims are actively being litigated. Third, there is no reason why the Eastern District
                             8   of Louisiana cannot “efficiently resolv[e] all issues” in the actions.
                             9         Additionally, consistent with the first-to-file rule’s purpose, dismissal is the
                            10   most efficient course of action. It prevents Southwest from having to litigate nearly
                            11   identical claims arising out of the same cancellations brought on behalf of nearly
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                            12   identical classes while also allowing Grove’s interests to be represented and protected
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                            13   as a putative class member in the Capdeville action. This action should be dismissed
                            14   pursuant to the first-to-file rule. See Pacesetter Sys., Inc, 678 F.2d at 96 (affirming
                            15   dismissal under first-to-file rule of second-filed action and “agree[ing] with the
                            16   district court that the goal of judicial efficiency would not have been served by
                            17   accepting jurisdiction”); see also Ward v. Follett Corp., 158 F.R.D. 645, 650 (N.D.
                            18   Cal. 1994) (invoking the first-to-file rule to dismiss a case “without prejudice to any
                            19   motion to transfer based on convenience made in the” court in which the first-filed
                            20   complaint had been filed).
                            21         C.     Alternatively, This Court Should Transfer the Grove Action to the
                            22                Eastern District of Louisiana.
                            23         Should the Court opt not to dismiss the case, transfer is the next best course.
                            24   It allows the court in Capdeville to determine, in the first place, “if the cases should
                            25   be consolidated or otherwise,” Montijo, 2022 WL 17722873, without risking the very
                            26   real possibility of conflicting rulings should dismissal or transfer not occur, Zerez
                            27   Holdings Corp. v. Tarpon Bay Partners, LLC, No. 2:17-CV-00029-TLN-DB, 2018
                            28   WL 402238, at *6 (E.D. Cal. Jan. 12, 2018) (stating that “[i]f the [earlier-filed] Action
                                                                               -9-
                                                    NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
                                                                                                         CASE NO.: 3:23-CV-00306-AJB-BLM
                          Case 3:23-cv-00306-AJB-SBC Document 12 Filed 06/16/23 PageID.135 Page 13 of 13



                             1   were allowed to run parallel in the District of Connecticut with the instant action
                             2   proceeding in this Court, wasting judicial resources is unavoidable and the risk of
                             3   ‘the embarrassment of conflicting judgments’ is immediately obvious”). Finally, at
                             4   the very least, absent dismissal or transfer, a stay of this action until Capdeville is
                             5   resolved is appropriate.
                             6   V.    CONCLUSION
                             7         For these reasons, this Court should dismiss this action under the first-to-file
                             8   rule. Alternatively, this Court should transfer this action to the Eastern District of
                             9   Louisiana, where the Capdeville action is pending, or stay the action pending final
                            10   resolution of Capdeville.
                            11
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                            12   Dated: June 16, 2023                                BAKER & HOSTETLER LLP
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                                                    NOTICE OF MOTION AND MOTION TO DISMISS, TRANSFER, OR STAY UNDER FIRST-TO-FILE RULE
                                                                                                         CASE NO.: 3:23-CV-00306-AJB-BLM
